Case 3:19-cv-00160-WQH-BLM Document 14-2 Filed 02/08/19 PageID.275 Page 1 of 39




   1   George D. Rikos (SBN 204864)
       LAW OFFICES OF GEORGE RIKOS
   2   225 Broadway, Suite 2100
       San Diego, California 92101
   3   Telephone: (858) 342-9161
       Facsimile: (858) 724-1453
   4
       Attorneys for Defendant
   5   DOMI Publications, LLC
   6

   7

   8                        UNITED STATES DISTRICT COURT
   9                     SOUTHERN DISTRICT OF CALIFORNIA
  10   JANE DOE NOS. 1-14, inclusive,          Case No. 19cv0160-WQH-BLM
       individuals;
  11
                   Plaintiffs,                 DECLARATION OF GEORGE
  12                                           RIKOS IN SUPPORT OF
       v.                                      DEFENDANTS’ JOINT MOTION
  13                                           FOR DISCOVERY SANCTIONS
       GIRLSDOPORN.COM, a business
  14   organization, form unknown;             Date:       TBD
       MICHAEL J. PRATT, an individual;        Time:       TBD
  15   ANDRE GARCIA, an individual;
       MATTHEW WOLFE, an individual;           Magistrate: Hon. Barbara Lynn Major
  16   BLL MEDIA, INC., a California
       corporation; BLL MEDIA
  17   HOLDINGS, LLC, a Nevada limited         Filed: January 24, 2019
       liability company; DOMI
  18   PUBLICATIONS, LLC, a Nevada
       limited liability company; EG
  19   PUBLICATIONS, INC., a California
       corporation; MlM MEDIA, LLC, a
  20   California limited liability company;
       BUBBLEGUM FILMS, INC., a
  21   business organization, form unknown;
       OH WELL MEDIA LIMITED, a
  22   business organization, form unknown;
       MERRO MEDIA, INC., a California
  23   corporation; MERRO MEDIA
       HOLDINGS, LLC, a Nevada limited
  24   liability company; and ROES 1 - 500,
       inclusive,
  25
                      Defendants.
  26

  27

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                                     -1-
            DECLARATION OF GEORGE RIKOS IN SUPPORT OF DEFENDANTS’
                   JOINT MOTION FOR DISCOVERY SANCTIONS
Case 3:19-cv-00160-WQH-BLM Document 14-2 Filed 02/08/19 PageID.276 Page 2 of 39




   1                        DECLARATION OF GEORGE RIKOS
   2         I, George Rikos, declare as follows:
   3         1.     I am an attorney duly admitted to practice in all of the courts of the State
   4   of California, the Central District of California, the Southern District of California,
   5   the Northern District of California and the U.S. Court of Appeals for the Ninth
   6   Circuit. I am the principal of the Law Offices of George Rikos, attorneys of record
   7   for Defendant DOMI Publications, LLC. The facts set forth herein are of my own
   8   personal knowledge, and if called as a witness I could and would competently testify
   9   thereto.
  10         2.     On January 28, 2019, in response to the Court’s scheduling order, I
  11   emailed Plaintiffs’ counsel, John O’Brien, seeking to schedule the 26(f) conference.
  12   Mr. O’Brien responded by suggesting I was in “cohoots” with the other defense
  13   counsel and that I should stop “the pretend arms-length emails”. A true and correct
  14   copy of this email exchange is attached as Exhibit 1.
  15         3.     On January 30, 2019, I sent an email to all counsel advising that
  16   discovery was not yet open in this matter and that the San Diego Superior Court no
  17   longer had jurisdiction and was stayed. In addition, I requested a meet and confer
  18   pursuant to Local Rule 26.1 as well as the Hon. Barbara Lynn Major’s chamber rules.
  19   A true and correct copy of this email exchange is attached as Exhibit 2.
  20         4.     In response, Mr. Chapin indicated that he was “not precluded from
  21   investigating our case which will likely be remanded shortly, so focus on your prep
  22   and not what we are doing”. Mr. Chapin refused to provide a meaningful response
  23   and suggested it was premature to meet and confer. Mr. Chapin’s response does not
  24   acknowledge nor address the fact that by January 30, 2019, Plaintiffs’ counsel had
  25   already taken two depositions and had still refused to confirm so. Between January
  26   30 and January 31, 2019, my office continued to exchange a series of email
  27   communications with Mr. Chapin.          A true and correct copy of these email
  28   communications are attached as Exhibit 3.
                                             -2-
          DECLARATION OF GEORGE RIKOS IN SUPPORT OF DEFENDANTS’
                    JOINT MOTION FOR DISCOVERY SANCTIONS
Case 3:19-cv-00160-WQH-BLM Document 14-2 Filed 02/08/19 PageID.277 Page 3 of 39




   1         5.     Sadly, I was forced to contact the Hon. Barbara Lynn Major’s chambers
   2   on at least 2 occasions to advise of the refusal by Mr. Chapin to meet and confer or
   3   even acknowledge what discovery, if any, Plaintiffs’ counsel was conducting in the
   4   interim. Brittany, the Hon Barbara Lynn Major’s clerk, advised that the scheduling
   5   order was indeed the order of the court regardless of whether or not the Plaintiffs
   6   were going to seek remand and that discovery was not open. Both of these messages
   7   were relayed to Mr. Chapin by me as reflected in the email communications marked
   8   as Exhibit 4, and on page 7 of Exhibit 3.
   9         6.     On or about February 5, 2019, I was advised by my client’s managing
  10   member that 2 subpoenas for business records had been issued to GoDaddy, Inc. and
  11   Domains by Proxy, LLC. My office has no record of being served with these
  12   subpoenas. The deadline to object was apparently February 6, 2019. I was forced to
  13   serve two letters of objection to the production of the subpoenas. A true and correct
  14   copy of these letters are attached as Exhibit 5.
  15         7.     On February 5, I immediately advised Plaintiffs’ counsel of these
  16   subpoenas and the failure to serve and the violation of the state court action stay,
  17   bankruptcy stay and the fact that discovery was not yet open. A true and correct copy
  18   of these email exchanges are attached as Exhibit 6.
  19         8.     It was not until February 6, 2019, at the in-person 26(f) conference that
  20   Mr. Chapin acknowledged that the two third party subpoenas for business records
  21   had never been served on the parties. Plaintiffs have not provided confirmation,
  22   despite requesting so, that no other such subpoenas are pending.
  23         9.     In addition, during the 26(f) conference, I inquired as to whether any
  24   other depositions took place besides the 2 identified above. Mr. Chapin originally
  25   took the position that the depositions of Ms. Wright and Ms. Pina were not
  26   depositions but rather recorded statements. I advised Mr. Chapin that third parties
  27   appeared only after service of a state court action subpoena being issued and that the
  28   rough drafts reflected deposition admonitions were provided. Mr. Chapin then
                                             -3-
          DECLARATION OF GEORGE RIKOS IN SUPPORT OF DEFENDANTS’
                      JOINT MOTION FOR DISCOVERY SANCTIONS
Case 3:19-cv-00160-WQH-BLM Document 14-2 Filed 02/08/19 PageID.278 Page 4 of 39




   1   changed course and indicated he was refusing to take any position as to whether or
   2   not the depositions were depositions or something else.
   3          10.    I have spent considerable time attempting to find out basic information,
   4   such as whether or not the Plaintiffs were conducting clandestine discovery in a
   5   stayed state court action, involving a bankruptcy stay and after jurisdiction
   6   transferred to this District Court. In particular, I spent considerable time emailing
   7   and responding to Plaintiffs’ email communications, communicating with the court,
   8   preparing two objection letters to third parties served with subpoenas, researching
   9   the related legal issues, and preparing this motion and the attached declaration.
  10          11.   In total, I have spent 9 hours on the above activities
  11          12.   My billing rate for this case was $350 per hour. Based upon a review
  12   of other fee applications and conversations with attorneys in the relevant billing
  13   market, $350 per hour is reasonable. Furthermore, submitted concurrently with this
  14   declaration, in further support of these rates, is the National Law Journal 2015
  15   Survey on Attorneys’ Fees, a true and correct copy of which is attached here as
  16   Exhibit 7, which shows that the rate of $350 are at or below market rates charged
  17   by comparable professionals.
  18          13.   The total amount of attorneys’ fees requested pursuant to this request
  19   is $3,150.
  20          14.   Pursuant to the Local Rules and Chamber Rules, I attempted to meet
  21   and confer several times and was rebuffed at every turn. On February 6, 2019,
  22   these issues were discussed with Plaintiffs’ counsel, in person, with no resolution
  23   reached.
  24   ///
  25   ///
  26   ///
  27   ///
  28   ///
                                      -4-
             DECLARATION OF GEORGE RIKOS IN SUPPORT OF DEFENDANTS’
                    JOINT MOTION FOR DISCOVERY SANCTIONS
Case 3:19-cv-00160-WQH-BLM Document 14-2 Filed 02/08/19 PageID.279 Page 5 of 39




   1           I declare under penalty of perjury under the laws of California and of the
   2   United States that the foregoing is true and correct. Executed on February 8, 2019, in
   3   San Diego, California.
   4

   5   DATED: February 8, 2019                LAW OFFICES OF GEORGE RIKOS
   6                                                s/George Rikos
                                                    George D. Rikos
   7                                                Attorneys for Defendant
                                                    DOMI Publications, LLC
   8

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                                   -5-
          DECLARATION OF GEORGE RIKOS IN SUPPORT OF DEFENDANTS’
                 JOINT MOTION FOR DISCOVERY SANCTIONS
Case 3:19-cv-00160-WQH-BLM Document 14-2 Filed 02/08/19 PageID.280 Page 6 of 39




                                 EXHIBIT 1
2/8/2019Case     3:19-cv-00160-WQH-BLM            Document
                              Law Offices of George               14-2
                                                    Rikos Mail - Re:       Filed
                                                                     Jane Doe       02/08/19
                                                                              v. Girls,               PageID.281
                                                                                        et. al. (Case No. 19-cv-160-WQH Page
                                                                                                                        (BLM) 7 of 39



                                                                                     George Rikos <george@georgerikoslaw.com>



  Re: Jane Doe v. Girls, et. al. (Case No. 19-cv-160-WQH (BLM)
  1 message

  George Rikos <george@georgerikoslaw.com>                                                Mon, Jan 28, 2019 at 1:13 PM
  To: John O'Brien <john@theobrienlawfirm.com>
  Cc: Aaron Sadock <asadock@panakoslaw.com>, Daniel Kaplan <dkaplan@danielkaplanlaw.com>, Ali Byler
  <ali@danielkaplanlaw.com>, Anna King <aking@panakoslaw.com>, "Brian M. Holm" <brian@holmlawgroup.com>, Eva
  Rummel <eva@holmlawgroup.com>, Ed Chapin <Echapin2@sanfordheisler.com>, Cara Van Dorn
  <cvandorn@sanfordheisler.com>, Fernando Salazar <fsalazar@sanfordheisler.com>, Christopher Yandel
  <cyandel@sanfordheisler.com>

    Dear Mr. O'Brien,

    As you and your State Court co-counsel know, this matter was removed on January 24, 2019. To date, only your firm
    appears as counsel of record. Neither Mr. Chapin nor Mr. Holm have appeared. As such and due to the pending
    scheduling order deadlines, I emailed your office as counsel of record.

    My email is solely intended to comply with our mutual obligations to conduct the FCP 26(f) conference. Regardless of
    whether or not other attorneys appear for the Plaintiffs, the current deadline for the parties to complete the 26(f)
    conference is February 6. As such, I would strongly encourage you to notify our office of your availability.

    Sincerely,




    George Rikos
    Law Office of George Rikos
    225 Broadway, Suite 2100
    San Diego, CA 92101
    Telephone: (858) 876-5201
    Facsimile:(858) 724-1453
    Email: george@georgerikoslaw.com
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    On Mon, Jan 28, 2019 at 12:37 PM John O'Brien <john@theobrienlawfirm.com> wrote:
     George and Aaron:

      Nobody believes you are not in cahoots, so you can stop the pretend arms-length emails.

      Further, please copy plaintiffs' counsel Mr. Chapin and Mr. Holm on all federal case correspondence. Your decision to
      circumvent their offices is unprofessional. It is also confusing as Mr. Kaplan's office is copied here, but was quite
      tellingly not signatory to the removal.
                                                                Exhibit 1
                                                               Page 1 of 3
https://mail.google.com/mail/u/0?ik=751707e16e&view=pt&search=all&permthid=thread-a%3Ar-5121163975117685631%7Cmsg-a%3Ar79720889407…     1/3
2/8/2019Case   3:19-cv-00160-WQH-BLM            Document
                            Law Offices of George               14-2
                                                  Rikos Mail - Re:       Filed
                                                                   Jane Doe       02/08/19
                                                                            v. Girls,               PageID.282
                                                                                      et. al. (Case No. 19-cv-160-WQH Page
                                                                                                                      (BLM) 8 of 39

      Assuming other orders do not vacate the scheduling order, and once Mr. Chapin and Mr. Holm have had an opportunity
      to respond here, we will further discuss.

      Thanks,
      John

      On Mon, Jan 28, 2019 at 9:55 AM George Rikos <george@georgerikoslaw.com> wrote:
       Thank you Mr. Sadock for your quick reply. I am available at that time.
       Mr. O'Brien, does that work for you?

         Sincerely.


         George Rikos
         Law Office of George Rikos
         225 Broadway, Suite 2100
         San Diego, CA 92101
         Telephone: (858) 876-5201
         Facsimile:(858) 724-1453
         Email: george@georgerikoslaw.com
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         any drives or storage media and destroy any printouts of the e-mail or attachments.



         On Mon, Jan 28, 2019 at 9:52 AM Aaron Sadock <asadock@panakoslaw.com> wrote:
          February - 6th will work for us. I suggest meeting at our office at 10:00am.

           Sent from Panakos Law mobile

           On Jan 28, 2019, at 9:43 AM, George Rikos <george@georgerikoslaw.com> wrote:


                  Dear Counsel:

                  Pursuant to the Scheduling order issued by the Court on January 25, 2019, please provide your
                  availability to conduct our meet and confer conference pursuant to Fed. Rules of Civil Procedure
                  Section 26(f). The deadline to complete this conference is no later than February 6, 2019.

                  Sincerely,


                  George Rikos
                  Law Office of George Rikos
                  225 Broadway, Suite 2100
                  San Diego, CA 92101
                  Telephone: (858) 876-5201
                  Facsimile:(858) 724-1453
                  Email: george@georgerikoslaw.com
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2/8/2019Case   3:19-cv-00160-WQH-BLM            Document
                            Law Offices of George               14-2
                                                  Rikos Mail - Re:       Filed
                                                                   Jane Doe       02/08/19
                                                                            v. Girls,               PageID.283
                                                                                      et. al. (Case No. 19-cv-160-WQH Page
                                                                                                                      (BLM) 9 of 39

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      --
      John J. O'Brien, Esq.
      The O'Brien Law Firm, APLC
      750 B Street, Suite 1610
      San Diego, CA 92101
      Tel: 619.535.5151
      Fax: 888.802.6785
      theobrienlawfirm.com




                                                              Exhibit 1
                                                             Page 3 of 3
https://mail.google.com/mail/u/0?ik=751707e16e&view=pt&search=all&permthid=thread-a%3Ar-5121163975117685631%7Cmsg-a%3Ar79720889407…   3/3
Case 3:19-cv-00160-WQH-BLM Document 14-2 Filed 02/08/19 PageID.284 Page 10 of 39




                                 EXHIBIT 2
       Case
2/8/2019      3:19-cv-00160-WQH-BLM
                              Law Offices of Document      14-2
                                             George Rikos Mail - Jane Filed  02/08/19
                                                                      Doe v. Girls,              PageID.285 Page 11 of 39
                                                                                    et. al. (3:19-cv-00160-WQH-BLM)



                                                                                 George Rikos <george@georgerikoslaw.com>



  Jane Doe v. Girls, et. al. (3:19-cv-00160-WQH-BLM)
  1 message

  George Rikos <george@georgerikoslaw.com>                                              Wed, Jan 30, 2019 at 10:21 AM
  To: John Whittemore <jwhittemore@bkflaw.com>, Aaron Sadock <asadock@panakoslaw.com>, Daniel Kaplan
  <dkaplan@danielkaplanlaw.com>, Ali Byler <ali@danielkaplanlaw.com>, Bonnie McKnight <bmcknight@panakoslaw.com>,
  John O'Brien <john@theobrienlawfirm.com>, Ed Chapin <Echapin2@sanfordheisler.com>, "Brian M. Holm"
  <brian@holmlawgroup.com>

    Dear Counsel:
    Mr. Holm has indicated his intent to continue with discovery in the now removed San Diego Superior Court
    action. This is troubling as the San Diego Superior Court no longer has jurisdiction. It is unclear if Mr.
    Holm has actually proceeded with any depositions. As such, please advise immediately.
    As you know, Federal Rules of Civil Procedure Rule 26(d) specifically states that “a party may not seek
    discovery from any source before the parties have conferred as required by Rule 26 (f). Here, no such
    conference has taken place.
    On January 25, 2019, the District Court issued a scheduling order outlining various deadlines, including a
    deadline to complete the Rule 26(f) conference. On January 28, 2019, I sent all counsel an email requesting
    availability to complete the Rule 26(f) conference. Thus far, Plaintiffs’ counsel has still not provided their
    availability.
    Pursuant to Southern District of California’s Local Rule 26.1 as well as the Hon. Barbara Lynn Major’s
    Chamber Rules, I hereby request an in person meet and confer (as we are all located in San Diego County) to
    discuss the issue of why Plaintiffs believe they are permitted to conduct discovery in the removed San Diego
    Superior Court action and prior to the Rule 26(f) conference.
    The unilateral decision by Plaintiffs’ counsel is compounded by the fact that the San Diego Superior Court,
    upon receipt of the removal, stayed the case. Moreover and as you know, a bankruptcy stay is currently in
    place.
    Sincerely,


    George Rikos
    Law Office of George Rikos
    225 Broadway, Suite 2100
    San Diego, CA 92101
    Telephone: (858) 876-5201
    Facsimile:(858) 724-1453
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                                                            Exhibit 2
                                                           Page 1 of 1
https://mail.google.com/mail/u/0?ik=751707e16e&view=pt&search=all&permthid=thread-a%3Ar2943128774285415630%7Cmsg-a%3Ar81527659464…   1/1
Case 3:19-cv-00160-WQH-BLM Document 14-2 Filed 02/08/19 PageID.286 Page 12 of 39




                                 EXHIBIT 3
Case 3:19-cv-00160-WQH-BLM Document 14-2 Filed 02/08/19 PageID.287 Page 13 of 39


    From:               Ed Chapin
    To:                 George Rikos
    Cc:                 Aaron Sadock; Daniel Kaplan; Ali Byler; Bonnie McKnight; John O’Brien; Brian Holm
    Subject:            Re: Jane Doe v. Girls, et. al. (3:19-cv-00160-WQH-BLM)
    Date:               Thursday, January 31, 2019 8:32:50 AM


   No personal attacks intended. Just stating the obvious.

   Please confirm February 6 at 2 PM for your meeting at my office. And, as I understand it
   depositions are adversary proceedings. There have been no such proceedings. Rest assured,
   we will continue to vigorously investigate this case and prepare for trial to hopefully
   commence shortly after the motions for relief from stay and remand are granted.

   Please do not continue to manufacture some sort of a claim to further delay commencement of
   the inevitable trial.


   Ed Chapin
   CA Managing Partner, bio
   655 West Broadway, Suite 1700, San Diego, CA 92101
   DIRECT: 619-577-4251 | MAIN: 619-577-4253

                               New York
                               Washington, DC
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   From: George Rikos <george@georgerikoslaw.com>
   Sent: Thursday, January 31, 2019 6:48 AM
   To: Ed Chapin
   Cc: Aaron Sadock; Daniel Kaplan; Ali Byler; Bonnie McKnight; John O’Brien; Brian Holm
   Subject: Re: Jane Doe v. Girls, et. al. (3:19-cv-00160-WQH-BLM)

   Mr. Chapin,

   You had only tentatively offered February 6 for the 26(f) conference subject to you determining your co-
   counsel's availability. However, as for my request to meet and confer regarding the discovery dispute,
   you refused claiming no discovery dispute existed. Again, I would request you refrain from personal
   attacks. Whether or not you are conducting depositions in the removed state court action is not subject
   to any privilege.

   Sincerely,

   George Rikos


                                                          Exhibit 3
                                                         Page 1 of 13
Case 3:19-cv-00160-WQH-BLM Document 14-2 Filed 02/08/19 PageID.288 Page 14 of 39


   Law Office of George Rikos
   225 Broadway, Suite 2100
   San Diego, CA 92101
   Telephone: (858) 876-5201
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   mail or attachments.




   On Thu, Jan 31, 2019 at 5:47 AM Ed Chapin <Echapin2@sanfordheisler.com> wrote:
    George, you don’t seem to want to understand my point. I hope I do better. With a jury
    when we get this case to trial. What we are doing to prepare our case is privileged. You are
    a master at seeking out alternative facts and raising spurious objections. We are not
    violating any stay order, so please cease your incessant pounding on what we are or not
    doing.

     I have offered to meet at 2:00 PM on Feb. 6!at my office so your assertion that I have not
     agreed to meet is disingenuous. Please cease your misrepresentations about scheduling a
     meeting.


     Ed Chapin
     CA Managing Partner, bio
     655 West Broadway, Suite 1700, San Diego, CA 92101
     DIRECT: 619-577-4251 | MAIN: 619-577-4253

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     From: George Rikos <george@georgerikoslaw.com>
     Sent: Wednesday, January 30, 2019 8:04 PM
     To: Ed Chapin


                                                         Exhibit 3
                                                        Page 2 of 13
Case 3:19-cv-00160-WQH-BLM Document 14-2 Filed 02/08/19 PageID.289 Page 15 of 39


     Cc: Aaron Sadock; Daniel Kaplan; Ali Byler; Bonnie McKnight; John O’Brien; Brian Holm
     Subject: Re: Jane Doe v. Girls, et. al. (3:19-cv-00160-WQH-BLM)

     Dear Mr. Chapin,
     I simply do not understand why you are refusing to meet and confer and are
     now taking the position that no discovery dispute exists in federal court but
     only in state court. There is no state action pending. It is my position a
     discovery dispute exists because if you are unilaterally conducting discovery
     in the state court action, it is our position that such discovery violates the
     Federal Rules of Civil Procedure 26(d), the state court stay, and the
     bankruptcy stay. If you disagree, a discovery dispute exists.
     The matter has been removed and the federal court has jurisdiction.   As you
     know, removal suspends the state court’s jurisdiction upon notice of removal
     being filed in state court. Spanair S.A. v. McDonnell Douglas Corp. (2009)
     172 Cal. App. 4th 348. Notice of removal was filed on January 24, 2019. As
     such, there are no pending state court discovery disputes as the state court has
     no jurisdiction.  The state court’s jurisdiction is only reacquired after the
     federal court clerk gives notice to the state court clerk remanding the case to
     state court.   Spanair S.A. v. McDonnell Douglas Corp. (2009) 172 Cal. App.
     4th 348.
     I have tried all day today to simply schedule a meet and confer with your
     office. I cannot even ascertain basic information from you such as whether
     you are actively engaging in discovery in the removed state court action.
       Several depositions were and are scheduled in the state court action and it is
     not clear whether your office has and/or will be proceeding as if the removal
     never took place.    In my review of your responses today, it would appear
     you are engaging in delay tactics to avoid having to address these issues with
     either my office or the court.


     At this point you leave me with no choice but to seek court intervention.


     Sincerely,



     George Rikos
     Law Office of George Rikos
     225 Broadway, Suite 2100
     San Diego, CA 92101
     Telephone: (858) 876-5201


                                              Exhibit 3
                                             Page 3 of 13
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     Facsimile:(858) 724-1453
     Email: george@georgerikoslaw.com
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     On Wed, Jan 30, 2019 at 4:33 PM Ed Chapin <Echapin2@sanfordheisler.com> wrote:

       George, I am available at 2?00 PM on Feb. 6. I do not agree that the conference should go
       forward as you demand. Thus, by participating in such a conference, I am not waiving
       any defense or claim my clients have regarding the inappropriate bk filing and removal
       petition.



       I will gladly host the meeting at my office assuming the time and date are convenient to
       my co-counsel..



       Please be advised there is no discovery dispute in the Federal Court matter so there is
       nothing to resolve there. There are, however, ongoing discovery disputes in the state court
       matter that we will address when appropriate.



       Ed Chapin
       CA Managing Partner, bio
       655 West Broadway, Suite 1700, San Diego, CA 92101
       DIRECT: 619-577-4251 | MAIN: 619-577-4253

                                   New York
                                   Washington, DC
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                                   San Diego
                                   Nashville
                                   Baltimore

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       From: George Rikos <george@georgerikoslaw.com>

                                                        Exhibit 3
                                                       Page 4 of 13
Case 3:19-cv-00160-WQH-BLM Document 14-2 Filed 02/08/19 PageID.291 Page 17 of 39


       Sent: Wednesday, January 30, 2019 3:31 PM
       To: Ed Chapin <Echapin2@sanfordheisler.com>
       Cc: Aaron Sadock <asadock@panakoslaw.com>; Daniel Kaplan
       <dkaplan@danielkaplanlaw.com>; Ali Byler <ali@danielkaplanlaw.com>; Bonnie
       McKnight <bmcknight@panakoslaw.com>; John O’Brien
       <john@theobrienlawfirm.com>; Brian Holm <brian@holmlawgroup.com>
       Subject: Re: Jane Doe v. Girls, et. al. (3:19-cv-00160-WQH-BLM)



       Dear Mr. Chapin:

       First and foremost, I do not represent Mr. Pratt, the debtor, defendant and party who
       removed the action. I only represent DOMI Publications, LLC.

       Secondly, there is already a scheduling order and I am merely trying to comply with the
       Court's Order. I have throughout the day requested a date and time to conduct our 26(f)
       conference. Mr. Sadock has already confirmed his availability for February 6 at 10 a.m.
       Please confirm.

       I also have requested an in person meet and confer, as required by Local and Chamber
       Rules, regarding the pending discovery dispute.   Namely, whether you are conducting
       discovery in the State Court action and, if so, why you believe you are permitted to do so
       in violation of Federal Rules of Civil Procedure 26(d), the stay in the State Court action as
       well as the bankruptcy stay.

       As it is unclear whether you are conducting on going discovery in the removed action,
       time is of the essence. Please provide your availability immediately. Our offices are only
       a few blocks apart.

       Sincerely,




       George Rikos

       Law Office of George Rikos

       225 Broadway, Suite 2100

       San Diego, CA 92101

       Telephone: (858) 876-5201

       Facsimile:(858) 724-1453

       Email: george@georgerikoslaw.com



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                                            Page 5 of 13
Case 3:19-cv-00160-WQH-BLM Document 14-2 Filed 02/08/19 PageID.292 Page 18 of 39




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       On Wed, Jan 30, 2019 at 3:22 PM Ed Chapin <Echapin2@sanfordheisler.com> wrote:

         George, notwithstanding my belief as to the lack of merit in what you folks have done
         with the bk filing and removal to district court, please advise me as to what you want in
         the Scheduling Order and we will respond and thereafter talk in an effort to iron out any
         disagreements.



         Ed Chapin
         CA Managing Partner, bio
         655 West Broadway, Suite 1700, San Diego, CA 92101
         DIRECT: 619-577-4251 | MAIN: 619-577-4253




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          message.


         From: George Rikos <george@georgerikoslaw.com>
         Sent: Wednesday, January 30, 2019 2:40 PM


                                                       Exhibit 3
                                                      Page 6 of 13
Case 3:19-cv-00160-WQH-BLM Document 14-2 Filed 02/08/19 PageID.293 Page 19 of 39


        To: Ed Chapin <Echapin2@sanfordheisler.com>
        Cc: John Whittemore <jwhittemore@bkflaw.com>; Aaron Sadock
        <asadock@panakoslaw.com>; Daniel Kaplan <dkaplan@danielkaplanlaw.com>; Ali
        Byler <ali@danielkaplanlaw.com>; Bonnie McKnight <bmcknight@panakoslaw.com>;
        John O’Brien <john@theobrienlawfirm.com>; Brian Holm
        <brian@holmlawgroup.com>; jcawdrey@grsm.com
        Subject: Re: Jane Doe v. Girls, et. al. (3:19-cv-00160-WQH-BLM)



        Dear Mr. Chapin:

        I have contacted Chambers for the Hon. Barbara Lynn Major. Madam Clerk Brittany is
        assigned to this matter. She has advised that the Scheduling Order is an Order of the
        Court and Judge Major expects all deadlines and aspects of the Order to be complied
        with regardless of whether your office is planning on filing a motion or not.   As such
        and per the instruction of Brittany, I am reaching out again to immediately schedule a
        meet and confer pursuant to the Local Rules and Chamber Rules regarding the
        following: (1) scheduling of the 26(f) conference; and (2) the discovery dispute as to
        whether you are conducting discovery in the now removed San Diego Superior Court
        Action and why such discovery is permitted in light of Federal Rules of Civil Procedure
        26(d) coupled with the stay issued in the state court and the bankruptcy stay.

        Please provide a clear email as to whether or not you are going to meet and confer. As
        it is unclear if discovery is being conducted unilaterally by your offices, the meet and
        confer needs to take place as soon as possible.

        Sincerely,




        George Rikos

        Law Office of George Rikos

        225 Broadway, Suite 2100

        San Diego, CA 92101

        Telephone: (858) 876-5201

        Facsimile:(858) 724-1453

        Email: george@georgerikoslaw.com


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        On Wed, Jan 30, 2019 at 11:52 AM Ed Chapin <Echapin2@sanfordheisler.com> wrote:

          You could not be more wrong, George. I find it ironic that your client, Domi, is not
          in bankruptcy so there is no perceived basis for the case being removed as to it. Yet,
          you are taking the laboring oar in harassing us. Where is Aaron Sadock who filed the
          spurious removal petition and seeks protection under Chapter 13 of the bankruptcy
          code? You are playing games that we intend to bring to the attention of the court.



          Ed Chapin
          CA Managing Partner, bio
          655 West Broadway, Suite 1700, San Diego, CA 92101
          DIRECT: 619-577-4251 | MAIN: 619-577-4253




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          From: George Rikos <george@georgerikoslaw.com>
          Sent: Wednesday, January 30, 2019 11:29 AM
          To: Ed Chapin <Echapin2@sanfordheisler.com>
          Cc: John Whittemore <jwhittemore@bkflaw.com>; Aaron Sadock
          <asadock@panakoslaw.com>; Daniel Kaplan <dkaplan@danielkaplanlaw.com>; Ali


                                                    Exhibit 3
                                                   Page 8 of 13
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          Byler <ali@danielkaplanlaw.com>; Bonnie McKnight
          <bmcknight@panakoslaw.com>; John O’Brien <john@theobrienlawfirm.com>;
          Brian Holm <brian@holmlawgroup.com>; jcawdrey@grsm.com
          Subject: Re: Jane Doe v. Girls, et. al. (3:19-cv-00160-WQH-BLM)



          Dear Mr. Chapin:

          Whether or not your office is filing a motion for remand has no bearing on the current
          state of the case.   The case is pending in the Southern District of California and this
          matter was assigned, in part, to Magistrate Judge Barbara Lynn Major. As such and
          until such time as the matter is remanded, she maintains jurisdiction over all
          discovery disputes.

          Your office cannot even answer the basic question as to whether or not Plaintiffs’
          counsel has conducted depositions in the San Diego County Court action since
          removal. Your representations of ongoing investigations is evasive.

          Moreover, Plaintiffs’ counsel is refusing to meet and confer either to conduct the
          26(f) conference or to resolve the discovery dispute referenced in my email of earlier
          this a.m.  

          At this time, I am left with no choice but to contact the Magistrate’s Chambers to
          schedule a hearing accordingly.

          At this time, Court intervention appears warranted.



          George Rikos

          Law Office of George Rikos

          225 Broadway, Suite 2100

          San Diego, CA 92101

          Telephone: (858) 876-5201

          Facsimile:(858) 724-1453

          Email: george@georgerikoslaw.com


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          On Wed, Jan 30, 2019 at 10:49 AM Ed Chapin <Echapin2@sanfordheisler.com>
          wrote:

            George, our position is that the case should not be in Fed. Ct. because removal was
            filed improperly. We are filing motions for Relief from Stay and Remand and
            Abstention shortly. Thus, it is premature to meet and confer further.



            Ed Chapin
            CA Managing Partner, bio
            655 West Broadway, Suite 1700, San Diego, CA 92101
            DIRECT: 619-577-4251 | MAIN: 619-577-4253




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            From: George Rikos <george@georgerikoslaw.com>
            Sent: Wednesday, January 30, 2019 10:29 AM
            To: Ed Chapin <Echapin2@sanfordheisler.com>
            Cc: John Whittemore <jwhittemore@bkflaw.com>; Aaron Sadock
            <asadock@panakoslaw.com>; Daniel Kaplan <dkaplan@danielkaplanlaw.com>;
            Ali Byler <ali@danielkaplanlaw.com>; Bonnie McKnight
            <bmcknight@panakoslaw.com>; John O’Brien <john@theobrienlawfirm.com>;
            Brian Holm <brian@holmlawgroup.com>
            Subject: Re: Jane Doe v. Girls, et. al. (3:19-cv-00160-WQH-BLM)



                                                   Exhibit 3
                                                 Page 10 of 13
Case 3:19-cv-00160-WQH-BLM Document 14-2 Filed 02/08/19 PageID.297 Page 23 of 39




            Dear Mr. Chapin:



            Unfortunately, your email is not responsive. Please confirm whether you are
            willing to meet and confer in person as required by both the Local Rules and the
            Chamber Rules of the Hon. Barbara Lynn Major. If so, please provide a date and
            time immediately as this issue is time sensitive.

            Sincerely,  




            George Rikos

            Law Office of George Rikos

            225 Broadway, Suite 2100

            San Diego, CA 92101

            Telephone: (858) 876-5201

            Facsimile:(858) 724-1453

            Email: george@georgerikoslaw.com


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            On Wed, Jan 30, 2019 at 10:24 AM Ed Chapin <Echapin2@sanfordheisler.com>
            wrote:

              George, we are not precluded from investigating our case which will likely be


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                                             Page 11 of 13
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              remanded shortly, so focus on your prep and not what we are doing.




              Ed Chapin
              CA Managing Partner, bio
              655 West Broadway, Suite 1700, San Diego, CA 92101
              DIRECT: 619-577-4251 | MAIN: 619-577-4253




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              From: George Rikos <george@georgerikoslaw.com>
              Sent: Wednesday, January 30, 2019 10:21 AM
              To: John Whittemore; Aaron Sadock; Daniel Kaplan; Ali Byler; Bonnie
              McKnight; John O’Brien; Ed Chapin; Brian Holm
              Subject: Jane Doe v. Girls, et. al. (3:19-cv-00160-WQH-BLM)



              Dear Counsel:

              Mr. Holm has indicated his intent to continue with discovery in the now removed
              San Diego Superior Court action. This is troubling as the San Diego Superior
              Court no longer has jurisdiction.   It is unclear if Mr. Holm has actually
              proceeded with any depositions. As such, please advise immediately.

              As you know, Federal Rules of Civil Procedure Rule 26(d) specifically states
              that “a party may not seek discovery from any source before the parties have
              conferred as required by Rule 26 (f). Here, no such conference has taken place.

              On January 25, 2019, the District Court issued a scheduling order outlining
              various deadlines, including a deadline to complete the Rule 26(f) conference.   
              On January 28, 2019, I sent all counsel an email requesting availability to

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              complete the Rule 26(f) conference. Thus far, Plaintiffs’ counsel has still not
              provided their availability.      

              Pursuant to Southern District of California’s Local Rule 26.1 as well as the Hon.
              Barbara Lynn Major’s Chamber Rules, I hereby request an in person meet and
              confer (as we are all located in San Diego County) to discuss the issue of why
              Plaintiffs believe they are permitted to conduct discovery in the removed San
              Diego Superior Court action and prior to the Rule 26(f) conference.

              The unilateral decision by Plaintiffs’ counsel is compounded by the fact that the
              San Diego Superior Court, upon receipt of the removal, stayed the case.
              Moreover and as you know, a bankruptcy stay is currently in place.

              Sincerely,




              George Rikos

              Law Office of George Rikos

              225 Broadway, Suite 2100

              San Diego, CA 92101

              Telephone: (858) 876-5201

              Facsimile:(858) 724-1453

              Email: george@georgerikoslaw.com


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                                 EXHIBIT 4
       Case
2/8/2019      3:19-cv-00160-WQH-BLM          Document
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                                                              - Re: Jane Doe v.02/08/19           PageID.301 Page 27 of 39
                                                                                Girls, et. al. (3:19-cv-00160-WQH-BLM)



                                                                                    George Rikos <george@georgerikoslaw.com>



  Re: Jane Doe v. Girls, et. al. (3:19-cv-00160-WQH-BLM)
  1 message

  George Rikos <george@georgerikoslaw.com>                                              Thu, Jan 31, 2019 at 9:49 AM
  To: Ed Chapin <Echapin2@sanfordheisler.com>
  Cc: Aaron Sadock <asadock@panakoslaw.com>, Daniel Kaplan <dkaplan@danielkaplanlaw.com>, Ali Byler
  <ali@danielkaplanlaw.com>, Bonnie McKnight <bmcknight@panakoslaw.com>, John O’Brien <john@theobrienlawfirm.com>,
  Brian Holm <brian@holmlawgroup.com>

    Mr. Chapin,

    I have confirmed with Chambers for Judge Major that discovery is NOT open. As such, it is our position that Mr. Holm's
    decision to proceed with depositions is a violation of the Court order, Scheduling order, state court stay as well as the
    bankruptcy stay. It appears you are playing games in terms of what your office is conducting. Persons appearing
    pursuant to a deposition subpoena and or notice are appearing for a deposition. Whether opposing counsel are present
    does not change the fact that the process is a deposition.

    Sincerely,




    George Rikos
    Law Office of George Rikos
    225 Broadway, Suite 2100
    San Diego, CA 92101
    Telephone: (858) 876-5201
    Facsimile:(858) 724-1453
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    On Thu, Jan 31, 2019 at 8:32 AM Ed Chapin <Echapin2@sanfordheisler.com> wrote:
     No personal attacks intended. Just stating the obvious.

      Please confirm February 6 at 2 PM for your meeting at my office. And, as I understand it depositions are adversary
      proceedings. There have been no such proceedings. Rest assured, we will continue to vigorously investigate this case
      and prepare for trial to hopefully commence shortly after the motions for relief from stay and remand are granted.

      Please do not continue to manufacture some sort of a claim to further delay commencement of the inevitable trial.



      Ed Chapin
      CA Managing Partner, bio
      655 West Broadway, Suite 1700, San Diego, CA 92101
                                                              Exhibit 4
                                                             Page 1 of 1
https://mail.google.com/mail/u/0?ik= 751707e16e&view= pt&search= all&permthid= thread-a%3Ar2943128774285415630%7Cmsg-a%3Ar-3342746457… 1/13
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                                 EXHIBIT 5
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                         LAW OFFICES OF GEORGE RIKOS
                  225 Broadway, Suite 2100  San Diego, CA 92101  TEL: (858) 342-9161  FAX: (858) 724-1453




                                              February 6, 2019


  Sent Via Electronic Service


  Subpoena Compliance Department
  GoDaddy.com, LLC
  480-624-2546
  compliancemgr@godaddy.com
  legal@godaddy.com

  Re:                              Subpoena to GoDaddy.com, LLC
  Case:                            Jane Doe v. www.girlsdoporn.com, et. al.

                          OBJECTIONS TO THIRD PARTY SUBPOENA

  To Whom it May Concern:

  Our office represents Defendant DOMI Publications, LLC. Please allow this correspondence to
  serve as a joinder in the other defendants’ correspondence issued yesterday regarding the
  notification of the bankruptcy filing, removal of case and stay of the California Superior Court
  action. In addition, Defendant DOMI Publications, LLC was no record of being served with the
  subject subpoena and therefore objects to the production of any documents in response to this
  subpoena. We hereby reserve our right to provide further objections once the subject subpoena is
  served in the proper venue and upon our office.




                                                                           Sincerely,
                                                                       George Rikos
                                                                           George Rikos




                                                    Exhibit 5
                                                   Page 1 of 2
Case 3:19-cv-00160-WQH-BLM Document 14-2 Filed 02/08/19 PageID.304 Page 30 of 39




                         LAW OFFICES OF GEORGE RIKOS
                  225 Broadway, Suite 2100  San Diego, CA 92101  TEL: (858) 342-9161  FAX: (858) 724-1453




                                              February 6, 2019


  Sent Via Electronic Service


  Subpoena Compliance Department
  Domains By Proxy, LLC
  480-624-2546
  compliancemgr@secureserver.net

  Re:                              Subpoena to Domains by Proxy, LLC
  Case:                            Jane Doe v. www.girlsdoporn.com, et. al.


                          OBJECTIONS TO THIRD PARTY SUBPOENA

  To Whom it May Concern:

  Our office represents Defendant DOMI Publications, LLC. Please allow this correspondence to
  serve as a joinder in the other defendants’ correspondence issued yesterday regarding the
  notification of the bankruptcy filing, removal of case and stay of the California Superior Court
  action. In addition, Defendant DOMI Publications, LLC was no record of being served with the
  subject subpoena and therefore objects to the production of any documents in response to this
  subpoena. We hereby reserve our right to provide further objections once the subject subpoena
  is served in the proper venue and upon our office.




                                                                           Sincerely,
                                                                         George Rikos
                                                                           George Rikos




                                                    Exhibit 5
                                                   Page 2 of 2
Case 3:19-cv-00160-WQH-BLM Document 14-2 Filed 02/08/19 PageID.305 Page 31 of 39




                                 EXHIBIT 6
       Case
2/8/2019      3:19-cv-00160-WQH-BLM          Document
                             Law Offices of George Rikos Mail14-2     Filed
                                                              - Re: Jane Doe v.02/08/19           PageID.306 Page 32 of 39
                                                                                Girls, et. al. (3:19-cv-00160-WQH-BLM)



                                                                                            George Rikos <george@georgerikoslaw.com>



  Re: Jane Doe v. Girls, et. al. (3:19-cv-00160-WQH-BLM)
  1 message

  George Rikos <george@georgerikoslaw.com>                                                 Tue, Feb 5, 2019 at 5:27 PM
  To: Ed Chapin <Echapin2@sanfordheisler.com>
  Cc: Brian Holm <brian@holmlawgroup.com>, Daniel Kaplan <dkaplan@danielkaplanlaw.com>, Aaron Sadock
  <asadock@panakoslaw.com>, Ali Byler <ali@danielkaplanlaw.com>, Bonnie McKnight <bmcknight@panakoslaw.com>, John
  O’Brien <john@theobrienlawfirm.com>, Carrie Goldberg <carrie@cagoldberglaw.com>, Cara Van Dorn
  <cvandorn@sanfordheisler.com>

    Unfortunately Mr. Chapin, today is the deadline.

    Tomorrow at 2 p.m. is not doable due to the purported deadlines. However, since I have never been served with the
    subpoenas I am not sure what you would like to chat about.



    George Rikos
    Law Office of George Rikos
    225 Broadway, Suite 2100
    San Diego, CA 92101
    Telephone: (858) 876-5201
    Facsimile:(858) 724-1453
    Email: george@georgerikoslaw.com
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    printouts of the e-mail or attachments.



    On Tue, Feb 5, 2019 at 5:26 PM Ed Chapin <Echapin2@sanfordheisler.com> wrote:
     We will chat about this tomorrow.

      Ed Chapin
      CA Managing Partner, bio
      655 West Broadway, Suite 1700, San Diego, CA 92101
      DIRECT: 619-577-4251 | MAIN: 619-577-4253

                                  New York
                                  Washington, DC
                                  San Francisco
                                  San Diego
                                  Nashville
                                  Baltimore

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                                                                   Page 1 of 3
https://mail.google.com/mail/u/0?ik=751707e16e&view=pt&search=all&permthid=thread-a%3Ar5050202280833342310%7Cmsg-a%3Ar-70938567397… 1/3
       Case
2/8/2019      3:19-cv-00160-WQH-BLM          Document
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                                                              - Re: Jane Doe v.02/08/19           PageID.307 Page 33 of 39
                                                                                Girls, et. al. (3:19-cv-00160-WQH-BLM)



      From: George Rikos <george@georgerikoslaw.com>
      Sent: Tuesday, February 5, 2019 2:29:06 PM
      To: Ed Chapin
      Cc: Brian Holm; Daniel Kaplan; Aaron Sadock; Ali Byler; Bonnie McKnight; John O’Brien; Carrie Goldberg; Cara Van
      Dorn
      Subject: Re: Jane Doe v. Girls, et. al. (3:19-cv-00160-WQH-BLM)

      Mr. Chapin,

      My office has not issued any such subpoenas. Kindly provide a substantive response to my email.

      Sincerely,


      George Rikos
      Law Office of George Rikos
      225 Broadway, Suite 2100
      San Diego, CA 92101
      Telephone: (858) 876-5201
      Facsimile:(858) 724-1453
      Email: george@georgerikoslaw.com
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      On Tue, Feb 5, 2019 at 2:22 PM Ed Chapin <Echapin2@sanfordheisler.com> wrote:
       I presume you agreed to abide by this request as well, Jorge. You folks have subpoenaed records from the Utah
       medical facility subsequent to the transfer to bankruptcy court.


        Ed Chapin
        CA Managing Partner, bio
        655 West Broadway, Suite 1700, San Diego, CA 92101
        DIRECT: 619-577-4251 | MAIN: 619-577-4253

                                    New York
                                    Washington, DC
                                    San Francisco
                                    San Diego
                                    Nashville
                                    Baltimore

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        From: George Rikos <george@georgerikoslaw.com>
        Sent: Tuesday, February 5, 2019 2:11 PM   Exhibit                  6
                                                                  Page 2 of 3
https://mail.google.com/mail/u/0?ik=751707e16e&view=pt&search=all&permthid=thread-a%3Ar5050202280833342310%7Cmsg-a%3Ar-70938567397… 2/3
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2/8/2019      3:19-cv-00160-WQH-BLM          Document
                             Law Offices of George Rikos Mail14-2     Filed
                                                              - Re: Jane Doe v.02/08/19           PageID.308 Page 34 of 39
                                                                                Girls, et. al. (3:19-cv-00160-WQH-BLM)

        To: Ed Chapin; Brian Holm; Daniel Kaplan; Aaron Sadock; Ali Byler; Bonnie McKnight; John O’Brien; Carrie
        Goldberg; Cara Van Dorn
        Subject: Jane Doe v. Girls, et. al. (3:19-cv-00160-WQH-BLM)

        Dear Plaintiffs' Counsel:
        I have received notification from my client that the following two subpoenaed third
        parties (Go Daddy and Domains by Proxy) have not been informed of the state court stay,
        bankruptcy stay, and removal to Federal Court where discovery is not yet open.
        In addition, the third party subpoenas were never served on the parties in this action and
        appear to have been issued in the state court which currently has no jurisdiction.
        See Spanair S.A. v. McDonnell Douglas Corp. (2009) 172 Cal. App. 4th 348.
        Please immediately confirm that your offices will notify any and all third party subpoenas
        which are pending to no produce any documents as the state court currently has no
        jurisdiction and moreover, issued a stay. If I do not receive confirmation today that you
        have notified the third parties, we will seek sanctions.


        Sincerely,

        George Rikos
        Law Office of George Rikos
        225 Broadway, Suite 2100
        San Diego, CA 92101
        Telephone: (858) 876-5201
        Facsimile:(858) 724-1453
        Email: george@georgerikoslaw.com
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                                                            Exhibit 6
                                                           Page 3 of 3
https://mail.google.com/mail/u/0?ik=751707e16e&view=pt&search=all&permthid=thread-a%3Ar5050202280833342310%7Cmsg-a%3Ar-70938567397… 3/3
Case 3:19-cv-00160-WQH-BLM Document 14-2 Filed 02/08/19 PageID.309 Page 35 of 39




                                 EXHIBIT 7
                         Case 3:19-cv-00160-WQH-BLM Document 14-2 Filed 02/08/19 PageID.310 Page 36 of 39




2015 NLJ Billing Survey

Source: National Law Journal
Category: National Law Journal



ALM Legal Intelligence, in association with The National Law Journal, collected 2015 hourly billing rates for partners, associates, of counsel and paralegals. The data sources include the
published rates from the 20 largest federal bankruptcy jurisdictions and a survey of the nation's 350 largest firms conducted during October and November of 2015. Individual firm rates are
not identified.




                                                                                                                                                                            Exhibit 7
                                                                                                                                                                          Page 1 of 4
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Hourly Billing Rates for 2015

                                         Partner                              Associate
                                 High    Low           Median      High          Low           Median
Overall Hourly Rates            $1,295   $90            $395       $950          $50            $350


Rates by Firm Size
1 - 25 lawyers                  $1,080   $90            $350       $950          $90            $300
26 - 150 lawyers                $1,050   $190           $460       $900          $100           $300
151 or more lawyers             $1,295   $100           $595       $975          $125           $325


Rates by State
           AL                    $725    $200           $375       $375          $175           $300
           AZ                    $750    $125           $375       $750          $175           $250
           CA                   $1,080   $200           $495       $950          $300           $350
           CO                    $893    $350           $443       $642          $150           $325
           CT                   $1,200   $295           $350       $625          $175           $350
           DC                   $1,095   $975          $1,035      $655          $350           $375
           DE                   $1,050   $295           $650       $850          $260           $388
           FL                    $625    $175           $375       $525          $100           $300
           GA                    $500    $250           $358       $450          $110           $275
           IL                    $985    $200           $420       $710          $150           $300
           IN                    $400    $250           $305       $400          $200           $275
           KY                    $340    $200           $290       $350          $200           $275
           LA                    $575    $150           $333       $500          $100           $250
           MA                    $650    $300           $475       $500          $260           $350
          MD                     $560    $250           $363       $580          $150           $325
           MI                    $375    $190           $265       $400          $125           $275
           NC                    $675    $250           $425       $435          $150           $275
                                                                                               Exhibit 7
                                                   1
                                                                                             Page 2 of 4
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          NJ               $880         $250           $400       $400          $150           $298
          NM                n/a          n/a            n/a       $350          $175           $200
          NV               $450         $295           $375       $500          $200           $325
          NY              $1,295        $100           $420       $975           $90           $350
          OH               $545         $250           $313       $330          $155           $250
          OR               $485         $315           $370       $325          $230           $300
          PA               $875         $200           $350       $565           $86           $257
          PR*              $300         $100           $200       $350          $100           $200
          TN               $735         $225           $300       $350          $150           $250
          TX               $925          $90           $395       $650          $150           $298
          VA               $545         $220           $335       $495          $175           $295
          WA               $965         $275           $460       $375          $150           $350
          WI               $595         $560           $578        n/a           n/a            n/a




                                     Of Counsel                            Paralegal
                           High         Low           Median      High          Low           Median
Overall Hourly Rates      $1,120       $125            $350       $325          $25            $125

Rates by Firm Size
1 - 25 lawyers             $645         $125           $350       $325          $25            $115
26 - 150 lawyers           $620         $225           $393       $305          $75            $173
151 or more lawyers       $1,120        $270           $610       $325          $35            $220

Rates by State
           AL              $495         $290           $393        n/a          n/a             n/a
           AZ              $750         $250           $300       $250          $75            $125
           CA              $595         $175           $450       $325          $25            $150
           CO              $400         $325           $363       $285          $75            $158
           CT              $550         $325           $438       $290          $75            $100
           DC              $775         $275           $750        n/a          n/a             n/a

                                                                                              Exhibit 7
                                                  2
                                                                                            Page 3 of 4
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           DE                       $525    $260       $275         $305          $125           $235
           FL                        n/a     n/a        n/a         $255           $65           $123
           GA                       $250    $240       $245         $160           $50           $120
            IL                     $1,120   $395       $430         $215           $75           $120
            IN                      $300    $225       $295         $220           $90           $100
           KY                        n/a     n/a        n/a         $150           $75           $105
           LA                       $425    $200       $350         $285           $45            $83
           MA                        n/a     n/a        n/a          n/a           n/a            n/a
           MD                       $350    $250       $275         $280           $75           $125
           MI                        n/a     n/a        n/a         $125           $75           $103
           NC                        n/a     n/a        n/a         $180           $75           $110
           NJ                       $565    $225       $325         $195           $65           $120
           NM                        n/a     n/a        n/a          n/a           n/a            n/a
           NV                        n/a     n/a        n/a         $240           $75           $152
           NY                       $930    $250       $573         $325           $60           $130
           OH                        n/a     n/a        n/a         $135           $85           $100
           OR                       $450    $310       $380         $220          $145           $185
           PA                       $440    $300       $325         $325           $75           $105
           PR*                      $250    $125       $188         $150           $45            $75
           TN                       $300    $270       $300         $150           $50            $90
           TX                       $740    $225       $320         $290           $35           $100
           VA                       $400    $300       $350         $325           $75            $95
           WA                        n/a     n/a        n/a         $215          $125           $143
           WI                        n/a     n/a        n/a          n/a           n/a            n/a

n/a: data not available
*Puerto Rico is a U.S. Territory




                                                                                                Exhibit 7
                                                   3
                                                                                              Page 4 of 4
